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                                                                   FILED IN OPEN COURT
                                                                        u.s.o.c. -Atlanta
                                                                        JAN - 4 2022
               IN THE UNITED STATES DISTRICT COURT                KEVl~P.ER, Clerk
                                                                  , By:   puty Cler~
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


   UNITED ST ATES OF AMERICA

         v.                                Criminal Information

   DE'REEK BANKS                           No. 1:22-CR-0004                                 /




The United States Attorney charges that:

                      Theft of Government Property
                              18 u.s.c. § 641

   1. On or about February 26, 2019, in the Northern District of Georgia

and elsewhere, the defendant, DE'REEK BANKS, did willfully and

knowingly steal, purloin, convert to his own use, and, without authority,

sell, convey, and dispose of a thing of value of the United States exceeding

the sum of $1,000, namely, federal student loans issu~d by the United

States Department of Education in the name of M.T., in violation of Title

18, United States Code, Section 641.

                                · Forfeiture

   2. Upon conviction of the sole count in this Information, the defendant,

DE'REEK BANKS, shall forfeit to the United States pursuant to Title 18,

United States Code, Section 981(a)(l)(C) and Title 28, United States Code,

Section 2461, any property, real or personal, ~hich constitutes or is

derived from proceeds traceable to said violation.
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   3. If any of the property described above, as a result of any act or

omission of the defendant:

      (a) cannot be located upon the exercise of due diligence;
      (b) has been transferred or sold to, or deposited with, a third party;
      (c) has been placed beyond the jurisdiction of the Court;
      (d) has been substantially diminished in value; or
      (e) has been commingleq with other property which cannot be
         divided without difficulty;
the United States intends, pursuant to 21 U.S.C. § 853(p), as incorporated
by 28 U.S.C. § 2461(c), to seek forfeiture of any other property of said
defendant up to the value of the forfeitable property.


KURT R. ERSKINE
    United States Attorney




SAMIR KAUSHAL
  Assistant United States Attorney
Georgia Bar No. 935285

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75 Ted Turner Drive SW
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